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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF NEVADA

 UNITED STATES OF AMERICA,    )
                              ) Case No. 2:20-cr-00235-JAD-NJK
              Plaintiff,      )
                              )      ORDER TEMPORARILY
 vs.                          )    UNSEALING PROCEEDING
                              )
 MAHOGANY BOYD,               )
                              )
              Defendant.      )
 ____________________________ )


      On November 2nd, 2020, this Court received a request from
 Amber McClane, Court Reporter, for a transcript of the sealed
 Arraignment & Plea portion of the hearing held on September
 22, 2020.


      IT IS THEREFORE ORDERED that the reporter notes of said
 hearing shall be unsealed for the limited purpose of providing
 the transcript as requested by CHRISTOPHER BURTON, AUSA. The
 original reporter notes shall thereafter be resealed, together
 with the certified copy of the transcript delivered to the
 Clerk pursuant to 28 USC § 753(b), until further order of this
 Court.



       IT IS FURTHER   ORDERED that Amber McClane, Court Reporter,
 shall not disclose    the contents of the transcript of the
 sealed proceedings    to anyone other than the parties or
 representatives of    the parties directly concerned with this
 case.



       DATED this 2nd day of November, 2020.




                       __________________________________
                              JENNIFER A. DORSEY
                       UNITED STATES DISTRICT COURT JUDGE
